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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )           CR. NO. 13-00021-SOM-2
                               )
           Plaintiff,          )           ORDER DENYING DEFENDANT’S
                               )           MOTION FOR COMPASSIONATE
                               )           RELEASE
                               )
      vs.                      )
                               )
 DEROY LAVATAI,                )
                               )
           Defendant.          )
                               )
 _____________________________ )

      ORDER DENYING DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

 I.         INTRODUCTION.

            In 2013, Defendant Deroy Lavatai pled guilty to one

 count of conspiracy to distribute 50 grams or more of

 methamphetamine and a quantity of marijuana, in violation of 21

 U.S.C. §§ 841(a), 841(b)(1)(A), 841(b)(1)(D), and 846.             In 2014,

 this court sentenced Lavatai to a mandatory minimum sentence of

 20 years in prison.      In 2018, however, Congress amended 21 U.S.C.

 § 841 as part of the First Step Act.         Under today’s law, Lavatai

 would face a mandatory minimum sentence of 15 years.

            Lavatai now moves for compassionate release under 18

 U.S.C. § 3582(c)(1)(A).      The primary basis for his motion is the

 COVID-19 pandemic.      He contends that his underlying medical

 conditions (obesity and hypertension) make him vulnerable to

 complications if he contracts COVID-19.          Lavatai is housed at FCI

 Lompoc.   On May 4, 2020, he learned that he had tested positive
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 for COVID-19.    The medical records do not report that he

 exhibited any symptoms.      ECF No. 376.         Now, more than two months

 later, this court cannot tell whether Lavatai is likely to suffer

 further complications, be reinfected, or have some form of

 immunity from the virus such that it does not pose an immediate

 threat to him.    FCI Lompoc, which has had 825 inmates and 16

 staff members “recover” from COVID-19, today identifies no active

 inmate cases and 2 active staff cases.             With difficulty, this

 court balances all of these circumstances, including the

 significant time that would remain on Lavatai’s sentence even if

 it were reduced to today’s mandatory minimum, and concludes that

 Lavatai has not established extraordinary and compelling reasons

 that warrant a reduction in his sentence.

 II.        ANALYSIS.

            Lavatai’s compassionate release request is governed by

 18 U.S.C. § 3582(c)(1)(A), which provides:

            [T]he court . . . upon motion of the
            defendant after the defendant has fully
            exhausted all administrative rights to appeal
            a failure of the Bureau of Prisons to bring a
            motion on the defendant’s behalf or the lapse
            of 30 days from the receipt of such a request
            by the warden of the defendant’s facility,
            whichever is earlier, may reduce the term of
            imprisonment (and may impose a term of
            probation or supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment), after considering the factors
            set forth in section 3553(a) to the extent
            that they are applicable, if it finds that--


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            (i) extraordinary and compelling reasons
            warrant such a reduction . . . .

            and that such a reduction is consistent with
            applicable policy statements issued by the
            Sentencing Commission.

 In other words, for the court to exercise its authority under

 § 3582(c)(1)(A), it must (1) find that the defendant exhausted

 his administrative remedies or that 30 days have passed since he

 filed an administrative compassionate relief request; (2) also

 find, after considering the factors set forth in section 3553(a),

 that extraordinary and compelling reasons warrant a sentence

 reduction; and (3) find that such a reduction is consistent with

 the Sentencing Commission’s policy statements.                      United States v.

 Scher, 2020 WL 3086234, at *2 (D. Haw. June 10, 2020).

            A.    Lavatai has satisfied the time-lapse requirement
                  of 18 U.S.C. § 3582(c)(1)(A).

            Lavatai submitted an administrative compassionate

 release request to the warden of his prison more than 30 days

 before filing this motion.        See ECF No. 378, PageID # 1654.               He

 has satisfied the time-lapse requirement of 18 U.S.C.

 § 3582(c)(1)(A).        The Government is not contesting Lavatai’s

 satisfaction of the exhaustion requirement.                   Id.

            B.    Lavatai has not demonstrated that extraordinary
                  and compelling circumstances justify his early
                  release.

            This court therefore turns to § 3582(c)(1)(A)’s second

 requirement: whether extraordinary and compelling reasons warrant

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 a sentence reduction.      In orders addressing compassionate release

 motions in other cases, this court has expressly recognized that

 it possesses considerable discretion in determining whether a

 particular defendant has established the existence of

 extraordinary and compelling reasons that justify early release.

 This court has stated that it reads § 3582(c)(1)(A) as allowing

 this court considerable discretion, notwithstanding the absence

 of an amended policy statement from the Sentencing Commission

 reflecting the discretion now given to courts under that statute.

 See United States v. Scher, 2020 WL 3086234, at *2 (D. Haw. June

 10, 2020); United States v. Cisneros, 2020 WL 3065103, at *2 (D.

 Haw. Jun. 9, 2020); United States v. Kamaka, 2020 WL 2820139, at

 *3 (D. Haw. May 29, 2020).

            The CDC currently lists the following conditions as

 creating an increased risk of a severe illness from COVID-19:

            *Cancer

            *Chronic kidney disease

            *COPD (chronic obstructive pulmonary disease)

            *Immunocompromised state (weakened immune system) from
            solid organ transplant

            *Obesity (body mass index [BMI] of 30 or higher)

            *Serious heart conditions, such as heart failure,
            coronary artery disease, or cardiomyopathies

            *Sickle cell disease

            *Type 2 diabetes mellitus


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 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

 people-with-medical-conditions.html?CDC_AA_refVal=https%3A%2F%2Fw

 ww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-extra-precautions%2Fg

 roups-at-higher-risk.html(last visited July 23, 2020).

            The CDC also lists the following as possibly increasing

 the risk of a severe illness from COVID-19:

            *Asthma (moderate-to-severe)

            *Cerebrovascular disease (affects blood vessels and
            blood supply to the brain)

            *Cystic fibrosis

            *Hypertension or high blood pressure

            *Immunocompromised state (weakened immune system) from
            blood or bone marrow transplant, immune deficiencies,
            HIV, use of corticosteroids, or use of other immune
            weakening medicines

            *Neurologic conditions, such as dementia

            *Liver disease

            *Pregnancy

            *Pulmonary fibrosis (having damaged or scarred lung
            tissues)

            *Smoking

            *Thalassemia (a type of blood disorder)

            *Type 1 diabetes mellitus

 Id.

            Under the CDC’s guidance, Lavatai’s obesity and

 hypertension increase his risk of a severe illness if he

 contracts COVID-19.     Lavatai is housed at FCI Lompoc, where

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 COVID-19 is present.      There is no dispute that, early in the

 COVID-19 pandemic, the virus spread rapidly through the prison,

 with 825 inmates and 16 staff members testing positive and two

 inmates dying.    However, the number of active cases is now

 considerably reduced.      As of today, there are no positive inmate

 tests and 2 positive staff tests.            See www.bop.gov (last visited

 July 24, 2020).     Whether that reduction is because many inmates

 now have immunity, because the facility is doing better at

 controlling the spread, or (of greater concern) because the

 facility is failing to detect new cases, this court at this point

 has a record that is less serious than it would have been

 earlier.   The court nevertheless considers the serious history at

 FCI Lompoc and the possibility that Lavatai might continue to be

 exposed to COVID-19 and suffer serious complications.

            There is some evidence in the record that suggests that

 risk might be mitigated.      Most notably, Lavatai tested positive

 for COVID-19 on May 4, 2020, more than two months ago.                 ECF No.

 228, PageID # 2527-29.      That raises two issues.            First, the

 medical records might suggest that he will not likely develop

 complications even if reinfected.            There is no way for this court

 to know whether Lavatai’s test was a false positive, but, if the

 test was accurate, it appears that Lavatai may have survived the

 virus without developing serious complications.




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            Second, based on the present record, this court cannot

 conclude that there is a substantial risk that Lavatai will be

 reinfected.    Individuals infected by certain other viruses may

 have at least some immunity against future infection, although

 the strength and length of that immunity may vary.                 Lavatai,

 pointing to a New York Times article, asserts that there is some

 evidence that COVID-19 is different.              In particular, he notes

 that a study showed that “the antibodies a person creates to

 combat COVID-19 may last only two or three months, which

 indicates that a person who already had COVID-19 may eventually

 get re-infected.”       ECF No. 373, PageID # 1580.

            More recent articles, however, have indicated that

 individuals infected with COVID-19 are likely to remain immune

 even after their antibody count drops.              As one article put it,

 “[a] decline in antibodies is normal after a few weeks, and

 people are protected from the coronavirus in other ways.”

 Apoorva Mandavilli, Can You Get COVID-19 Again? It’s Very

 Unlikely, Experts Say, N.Y. Times, July 22, 2020,

 https://www.nytimes.com/2020/07/22/health/covid-antibodies-herd-i

 mmunity.html; see also Derek Thompson, How Long Does COVID-19

 Immunity Last?, The Atlantic, July 20, 2020,

 https://www.theatlantic.com/ideas/archive/2020/07/could-covid-19-

 immunity-really-disappear-months/614377/; Martin Finucane, Here’s

 What You Need To Know About Fading Coronavirus Antibodies, Boston


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 Globe, July 23, 2020, https://www.bostonglobe.com/2020/07/23/

 nation/heres-what-you-need-know-about-fading-coronavirus-antibodi

 es/.   Even after COVID-19 antibodies decline, the body might

 retain immunological memory that allows it to quickly produce new

 antibodies to respond to a second infection.                    See id.   Some

 experts therefore posit that, at the very least, it is highly

 unlikely that individuals will contract the coronavirus twice.

 See id.

             This court is acutely aware that no one completely

 understands how the coronavirus operates.                This court is in no

 position to make a definitive determination about immunity, but

 the combination of Lavatai’s lack of complications after testing

 positive and the possibility that he may have some form of

 immunity cannot be entirely ignored in any evaluation of whether

 there are extraordinary and compelling reasons warranting a

 reduction in his sentence.

             The court also must consider the time remaining on

 Lavatai’s sentence.       Lavatai has been in custody since January

 10, 2013.    See ECF No. 378, PageID # 1659.                  Even if credit for

 good behavior is taken into account, he still has many years left

 on his sentence.        Lavatai argues that this court should consider

 the impact of the First Step Act on that sentence.

             This court has previously held that a change in the law

 may be a relevant consideration in determining whether


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 extraordinary and compelling circumstances justify a defendants’

 release, although this court has not held that it may be the sole

 consideration.     United States v. Cisneros, 2020 WL 3065103, at

 *3-4 (D. Haw. June 9, 2020).       Under § 3582(c)(1)(A), a court must

 consider whether a reduced sentence would reflect the seriousness

 of the defendant’s offense, promote respect for the law, provide

 just punishment for the offense, or afford adequate deterrence to

 criminal conduct.       18 U.S.C. § 3582(c)(1)(A); 18 U.S.C.

 § 3553(a).    The fact that a defendant would receive a reduced

 sentence if he was sentenced today could affect all of those

 considerations.

              Lavatai argues that, if he were sentenced today, his

 guideline range would be reduced from 240 months in prison to

 between 180 months and 210 months.             ECF No. 379, PageID # 1674.

 While Lavatai would today face a 15-year mandatory minimum, he

 would not be guaranteed a 15-year sentence.                  Moreover, Lavatai

 has served about 90 months of his sentence, meaning that, even if

 he received a 180-month sentence, he would still have many years

 left to serve.

              The Government argues that Lavatai’s criminal history

 and disciplinary record while in custody weigh against

 compassionate release.       Lavatai was earlier convicted of

 distributing methamphetamine in 2003, and, almost immediately

 after his release from prison, he began dealing drugs again,


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 leading to his conviction in this case.            See ECF No. 260, PageID

 # 990, 997.    That suggests that there is some risk of recidivism.

 On the other hand, the majority of the disciplinary offenses

 while in custody cited by the Government predate 2013.               ECF No.

 378-1, PageID # 1662.      Moreover, in the last six years, Lavatai

 has completed an impressive number of educational courses, and he

 has been consistently employed in prison.            ECF No. 370-1.     Thus,

 the record does include encouraging indications about Lavatai’s

 commitment to his rehabilitation.

             The court considers this a close case.            But under

 § 3582(c)(1)(A), only extraordinary and compelling reasons can

 justify a reduction in an inmate’s sentence.             After considering

 Lavatai’s medical conditions, positive COVID-19 test, and lack of

 COVID-19 symptoms, as well as the apparent improvement in the

 situation at FCI Lompoc, the time remaining on his sentence, and

 the impact of the First Step Act, this court concludes that it

 does not have an extraordinary and compelling reason to reduce

 Lavatai’s sentence at this time.            That does not mean that, in the

 future, Lavatai cannot bring another motion asking for

 compassionate release that might be based on his medical

 condition, the impact of the First Step Act, his continued

 rehabilitation, and other developments.

             Lavatai argues that, even if this court does not order

 his immediate release, it should nevertheless reduce his sentence


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 to 180 months now because that is the sentence he says he would

 receive if sentenced today.       ECF No. 373, PageID # 1596-1597; ECF

 No. 379, PageID # 1675-78.       In support of that assertion, he

 cites two district court cases in which courts considered

 sentence reductions under § 3582(c)(1)(A) without ordering

 immediate release.      Neither United States v. Maumau, 2020 WL

 806121, at *8 (D. Utah Feb. 18, 2020) nor United States v.

 Urkevich, 2019 WL 6037391, at *4 (D. Neb. Nov. 14, 2019), cited

 COVID-19 or any other imminent emergency.

             In Maumau, the district court noted that the sentencing

 laws applicable to the defendant had changed after the defendant

 was sentenced, so that the defendant would not have been subject

 to the same harsh mandatory sentences if sentenced under new

 provisions.    The court was focused on the defendant’s age, the

 length of the sentence imposed, and the changes in the law.

 Concluding that it had the authority to provide relief to the

 defendant under the compassionate relief statute and that it

 should indeed provide relief, the court ordered the parties to

 appear at a hearing to discuss what that relief should be.                2020

 WL 806121, at *1, 5.

             In Urkevich, the district court, similarly faced with a

 change in the law, reduced the defendant’s sentence without

 ordering immediate release.       The court noted that its order in

 advance of a new release date would help the defendant and the


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 prison plan for his release and assist the defendant in seeking

 clemency.    2019 WL 6037391, at *4.

             This case, unlike Maumau and Urkevich, involves the

 primary argument that Lavatai should be released because of his

 vulnerability to COVID-19.       This circumstance presents a marked

 difference from the circumstances in the cases Lavatai cites,

 because Lavatai is pointing to what he says is an emergency.                In

 its Cisneros decision, this court has already stated that it

 views the compassionate release statute as allowing it to

 consider a change in the law as a factor in reducing a sentence.

 The problem with Lavatai’s alternate argument, however, is an

 internal inconsistency.      If the timing of Lavatai’s present

 motion is driven by the threat of contracting COVID-19, it makes

 little sense for the court to order release at a date years in

 the future, when COVID-19 will presumably not be an issue.                This

 court therefore declines to enter any order reducing Lavatai’s

 sentence but setting a release date years into the future.

             This court encourages Lavatai to bring another motion

 in the future.     To avoid any misunderstanding, this court

 stresses that it is ruling that Lavatai has not shown entitlement

 to compassionate release at present.          This court is confining

 this order to the present record and the present state of the

 law.   The court is, however, not saying that it will never order

 compassionate release based at least in part on changes in


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 sentencing provisions.      While this court is not here committing

 to releasing Lavatai in the future on some different record,

 Lavatai can increase his chances of a favorable ruling by making

 a showing of further positive progress in his rehabilitative

 efforts.    Based on the present record, the court declines to

 release Lavatai under § 3582(c)(1)(A).

 III.        CONCLUSION.

             Lavatai’s request for compassionate release under 18

 U.S.C. § 3582(c)(1)(A) is denied.

             It is so ordered.

             DATED: Honolulu, Hawaii, July 24, 2020.



                                     /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     United States District Judge




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